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 5   Attorney for Defendant, NORMAN MOLYNEUX
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 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                        )        CASE NUMBER: CR-F-04-5244 OWW
                                                      )
11                          Plaintiff,                )
                                                      )
12   v.                                               )        STIPULATION TO CONTINUE TRIAL
                                                      )        DATE AND ORDER
13   NORMAN MOLYNEUX,                                 )
     STEPHEN EARL PROUT and                           )
14   CLAUDE ARTHUR STROHL,                            )
     aka Clyde A. Strohl                              )        Honorable Oliver W. Wanger
15                                                    )        Courtroom Three
                            Defendants.               )
16                                                    )
17          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel, STANLEY A. BOONE, Assistant United States Attorney, and SALVATORE SCIANDRA,
19   attorney for defendant NORMAN MOLYNEUX, that the jury trial currently scheduled for June 6, 2006
20   be continued and set to begin September 12, 2006 at 9:00 a.m. The defendants are requesting
21   additional time for further investigation and trial preparation.
22          The parties further request that the pretrial motions be rescheduled as follows:
23                  Motions in Limine due:                  August 18, 2006
24                  Response due:                                  August 23, 2006
25                  Hearing on Motions in Limine
                    and Trial Confirmation:                 August 28, 2006
26
27          All parties herein, through their respective counsel have been contact regarding the requested
28   continuance and concur with this request.
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 1           The parties further agree that the resulting period of delay occurring between June 6, 2006 and
 2   September 12, 2006, shall continue to be excluded for speedy trial purposes pursuant to 18 U.S.C.
 3   section 3161(h)(8)(A).
 4                                                                   Respectfully submitted,
 5
 6   DATED: May 3, 2006                                              /s/ Salvatore Sciandra
                                                                     SALVATORE SCIANDRA
 7                                                                   Attorney for Defendant,
                                                                     NORMAN MOLYNEUX
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 9
10   DATED: May 3, 2006                                              /s/ Eric K. Fogderude
                                                                     ERIC K. FOGDERUDE
11                                                                   Attorney for Defendant,
                                                                     STEPHEN EARL PROUT
12
13
14   DATED: May 3, 2006                                              /s/ Katherine L. Hart
                                                                     SALVATORE SCIANDRA
15                                                                   Attorney for Defendant,
                                                                     CLAUDE ARTHUR STROHL
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17
18   DATED: May 3, 2006                                              /s/ Stanley A. Boone
                                                                     STANLEY A. BOONE
19                                                                   Assistant United States Attorney
20
21                                                  ORDER
22           The parties stipulated request to continue the trial of this matter to September 12, 2006 at 9:00
23   a.m. is GRANTED. The parties stipulated pre-trial motions schedule is also GRANTED and shall
24   be as follows:
25                    Motions in Limine due:                   August 18, 2006
26                    Response due:                                  August 23, 2006
27                    Hearing on Motions in Limine
                      and Trial Confirmation:                  August 28, 2006
28   ///

     U.S. v. MOLYNEUX, et al.
     STIPULATION TO CONTINUE TRIAL DATE AND ORDER [PROPOSED]
     CASE NUMBER: CR-F-04-5244-OWW                                                                           2
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 1          Time shall be excluded pursuant to 18 U.S.C. section 3161(h)(8)(A) at both parties’ request to
 2   allow for further investigation and trial preparation.
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 7   IT IS SO ORDERED.
 8   Dated: May 18, 2006                                /s/ Oliver W. Wanger
     emm0d6                                        UNITED STATES DISTRICT JUDGE
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     U.S. v. MOLYNEUX, et al.
     STIPULATION TO CONTINUE TRIAL DATE AND ORDER [PROPOSED]
     CASE NUMBER: CR-F-04-5244-OWW                                                                       3
